Case 19-25851-CLC Doc 39 Filed 02/19/20 Page1of4
UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA

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CHAPTER 13 PLAN (Individual Adjustment of Debts)

[] Original Plan
(m] First Amended Plan (Indicate Ist, 2nd, etc. Amended, if applicable)
[| Modified Plan (Indicate Ist, 2nd, etc. Modified, if applicable)
DEBTOR: Sonia Vales JOINT DEBTOR: CASE NO.: 19-25851
SS#: xxx-xx- 6493 SS#: XXX-Xx-
I. NOTICES
To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans

and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.

To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated.

To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
box on each line listed below in this section to state whether the plan includes any of the following:

The valuation of a secured claim, set out in Section III, which may result in a

partial payment or no payment at all to the secured creditor [m] Included L] Not included

Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set [] Included [im] Not included
out in Section HI
Nonstandard provisions, set out in Section VIII [_] Included {m] Not included

Il. PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

1. $1,007.63 formonths 1 to_36_;
2. $0.00 formonths__ to
3. $0.00 formonths__ to
B. DEBTOR(S)' ATTORNEY'S FEE: {m™] NONE [mi] PROBONO

Til. TREATMENT OF SECURED CLAIMS

A. SECURED CLAIMS: ["] NONE
[Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)| Mortgage(s)/Lien on Real or Personal Property:

1. Creditor: Ro-Mont South Condominium 'L'

Address: c/o Daniel A. Weber Esq. Arrearage/ Payoff on Petition Date —-0-
Straley Otto
2699 Stirling Road C-207
Ft. Lauderdale, FL 33312

Regular Payment (Maintain) $255.00 /month (Months 1 to_36_)

Last 4 Digits of
Account No.: 0009

Other:

LF-31 (rev. 10/3/17) Page | of 4
Case 19-25851-

CLC Doc 39 Filed 02/19/20 Page 2of4

Debtor(s): Sonia Vales Case number: 19-2585]

[m] Real Property Check one below for Real Property:
{m|Principal Residence [Escrow is included in the regular payments
[ |Other Real Property {m|The debtor(s) will pay [mjtaxes_ [_Jinsurance directly

Address of Collateral:
20275 NE 2nd Avenue #9, Miami, FL 33179

[_] Personal Property/Vehicle

Description of Collateral: Debtor's homestead which is a condominium

2. Creditor: Ditech

Address: P. O. Box 660934 Arrearage/ Payoff on Petition Date $1,233.02
Dallas, TX 75266-0934 Arrears Payment (Cure) $34.25 /month(Months 1 to 36 )

Last 4 Digits of Regular Payment (Maintain) $316.78 /month(Months 1 to_36_ )
Account No.: 0692
Other:
[m] Real Property Check one below for Real Property:

{m]Principal Residence [m]Escrow is included in the regular payments

[_ ]Other Real Property [_]The debtor(s) will pay [_]taxes [_Jinsurance directly
Address of Collateral:

20275 NE 2nd Avenue #9, Miami, FL 33179

[_] Personal Property/Vehicle

Description of Collateral: Debtor's homestead which is a condominium

B. VALUATION OF COLLATERAL: [|] NONE

IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL
SECURING YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED UPON
YOU PURSUANT TO BR 7004 AND LR 3015-3.

1, REAL PROPERTY: [_] NONE

1. Creditor: R-Mont South Condominium | Value of Collateral: $83,603.00 Payment
L * .
Amount of Creditor's Lien: $84,341.25 _ | Total paid in plan: $0.00
Address: c/o Daniel A. Weber Esq. TT
Straley Otto
2699 Stirling Road C-207 Interest Rate: 0.00% /month(Months to ___

Ft. Lauderdale, FL 33312

Last 4 Digits of Account No.: Check one below:

[m] Escrow is included in the monthly
mortgage payment listed in this section
[_] The debtor(s) will pay

Real Property

[m|Principal Residence
[_]Other Real Property [m|taxes [mJinsurance directly
Address of Collateral:
20275 NE 2nd Avenue #9, Miami, FL
33179
2. VEHICLES(S): [mi] NONE
3. PERSONAL PROPERTY: [m] NONE
C. LIEN AVOIDANCE [mg] NONE
LF-31 (rev. 10/3/17) Page 2 of 4
Case 19-25851-CLC Doc 39 _ Filed 02/19/20 Page 3of4
Debtor(s): Sonia Vales Case number: 19-2585]

D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
distribution fom the Chapter 13 Trustee.
[_] NONE

[m] The debtor(s) elect to surrender to each creditor listed below the collateral that secures the creditor’s claim. The debtor(s)
request that upon confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in
personam as to any codebtor(s) as to these creditors.

[_] Other:
Name of Creditor Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)
' Flagship Credit Acceptance 6493 2013 Volvo X60

E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution
fom the Chapter 13 Trustee.

[m™) NONE
IV. TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]
A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE: [lm] NONE
B. INTERNAL REVENUE SERVICE: [m] NONE
C. DOMESTIC SUPPORT OBLIGATION(S): [mi] NONE
D. OTHER: [Bm] NONE
V. TREATMENT OF UNSECURED NONPRIORITY CREDITORS
A. Pay $310.00 /month (Months 1 to 36 )

Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
B. [_] If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
C. SEPARATELY CLASSIFIED: [mg] NONE

*Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
creditors pursuant to 11 U.S.C. § 1322.

VI. EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in this
section shall not receive a distribution from the Chapter 13 Trustee.

[m] NONE
VII. | INCOME TAX RETURNS AND REFUNDS: [7] NONE

[m] The debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 521(f) 1-4 on an
annual basis during the pendency of this case. The debtor(s) hereby acknowledges that the deadline for providing the
Trustee with their filed tax returns is on or before May 15 of each year the case is pending and that the debtor(s) shall
provide the trustee (but not file with the Court) with verification of their disposable income if their gross household income
increases by more than 3% over the previous year’s income. [Miami cases]

VIII. NON-STANDARD PLAN PROVISIONS [mg] NONE

LF-31 (rev. 10/3/17) Page 3 of 4
Case 19-25851-CLC Doc 39 _ Filed 02/19/20 Page4of4

Debtor(s): Sonia Vales Case number: 19-2585]

PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

Debtor Joint Debtor
Sonia Vales Date Date
Carolina A. Lombardi February 18,2020
Attorney with permission to sign on Date

Debtor(s)’ behalf

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph VIII.

LF-31 (rev. 10/3/17) Page 4 of 4
